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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
 JARREAU A. AYERS,                    )
                                      )
            Plaintiff,                )
                                      )    C.A. No.: 19-1738-JLH
       v.                             )
                                      )
 MARC RICHMAN, VINCENT CARR,          )
 and CHRISTOPHER MOEN,                )
            Defendants.               )

       STIPULATION AND [PROPOSED] EXTENDING DISCOVERY DEADLINE

        IT IS HEREBY STIPULATED AND AGREED, by and between counsel for plaintiff

 Jarreau Ayers and Defendants Marc Richman and Vincent Carr subject to the approval of the

 Court, that the time within which fact discovery shall be completed is extended 30 days from date

 of Court Order to depose Plaintiff, Jarreau Ayers pursuant to FRCP 30(a)(2)(b), which is filed

 simultaneously with this stipulation

  Dated: May 14, 2025                             Respectfully submitted,

  /s/Colleen E. Durkin                            /s/Daniel A. Griffith
  Colleen E. Durkin, Esq. (DE #5886)              Daniel A. Griffith, Esq. (DE #4209)
  STATE OF DELAWARE                               WHITEFORD TAYLOR PRESTON LLC
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  Telephone: 302-577-8400                         Attorneys for Plaintiff.
  colleen.durkin@delaware.gov
  Attorney for Defendants.

 SO ORDERED, this 15th                    May
                               day of _____________________, 2025

                                                     ____________________________________
                                                          The Honorable Jennifer L. Hall
                                                       UNITED STATES DISTRICT JUDGE
